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                                                                             FILED
                                                                  John E. Triplett, Acting Clerk
                                                                   United States District Court



                United States District Court                   By CAsbell at 8:25 am, Dec 31, 2020




            for the Southern District of Georgia
                     Waycross Division
SAIM SARWAR,

        Plaintiff,

v.
                                               CV 520-124
JAY NIDHI INC.,

        Defendant.


                                  ORDER

      On October 29, 2020, Plaintiff informed the Court that the

parties had reached an agreement in principle to resolve this

case.    On December 30, 2020, Plaintiff notified the Court that

the   parties   expected   to   consummate    settlement    within        thirty

days.     Accordingly, the Court STAYS this case through February

15, 2021 in order for the parties to finalize settlement.                          The

parties are ORDERED to file a status report or a stipulation of

dismissal by that date.

      SO ORDERED, this 31st day of December, 2020.




                                          HON. LISA GODBEY WOOD, JUDGE
                                          UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF GEORGIA
